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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

ARMANDO AGUILAR MORALES, on                         §
behalf of himself and his minor daughter            §
J.J.A.R., and PEDRO RAMOS PEREZ on                  §
behalf of himself and his minor son F.R.I.,         §
       Plaintiffs,                                  §
                                                    §
v.                                                  §          EP-23-CV-00247-KC
                                                    §
UNITED STATES OF AMERICA,                           §
     Defendant.                                     §

             DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME

        Defendant, United States of America, files this Unopposed Motion for Extension of Time

within which to answer, plead, or otherwise respond to Plaintiffs’ Original Complaint in the above-

entitled and numbered cause, and would respectfully show the Court the following:

        1.        On June 28, 2023, Plaintiffs filed their Complaint under the provisions of the

Federal Tort Claim Act, 28 U.S.C. § 1346(b). ECF No. 1.

        2.        The United States Attorney’s Office was served with the Complaint on or about

July 3, 2023. 1 Defendant’s deadline to answer, plead, or otherwise respond to Plaintiffs’ Original

Complaint is currently September 1, 2023.

        3.        Due to competing obligations of counsel and in order to properly respond to

Plaintiffs’ Original Complaint, an extension, up to and including, October 2, 2023, is requested.

        4.        This is Defendant’s first motion to extend the deadline to file a response or answer

in this matter.




        1
            Defendant does not waive any defenses it may have regarding service of process.
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        5.      Defendant, therefore, requests an extension of time to answer, plead or otherwise

respond to Plaintiffs’ Original Complaint, up to and including October 2, 2023.

        6.      This request for extension of time is not made for the purpose of unnecessary delay

or prejudice, but so that justice may be done.

        7.      The undersigned counsel conferred with Plaintiffs’ counsel via email about a thirty-

day extension, 2 and Mr. Benoit does not oppose this motion.

        Defendant respectfully requests that this Unopposed Motion for Extension of Time be

granted in all things and prays for such other and further relief to which Defendant may show itself

to be justly entitled.

                                                  Respectfully submitted,

                                                  JAIME ESPARZA
                                                  UNITED STATES ATTORNEY

                                                  /s/ Angelica A. Saenz
                                                  ANGELICA A. SAENZ
                                                  Assistant United States Attorney
                                                  Texas State Bar No. 24046785
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                                                  El Paso, Texas 79901
                                                  Office: (915) 534-6555
                                                  Facsimile: (915) 534-3490
                                                  Attorneys for Defendant




        2
          A thirty-extension would fall on Sunday October 1, 2023. Pursuant to Fed. R. Civ. P.
6(a)(1), the deadline becomes October 2, 2023.


                                                 2
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 7th day of August, 2023, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will send notification of such filing to
the following CM/ECF participants: Christopher Benoit, Coyle & Benoit PLLC and Julie R.
Ulmet, The Law Offices of Julie R. Ulmet, Attorneys for Plaintiffs.

                                                /s/ Angelica A. Saenz
                                                ANGELICA A. SAENZ
                                                Assistant United States Attorney




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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

ARMANDO AGUILAR MORALES, on                      §
behalf of himself and his minor daughter         §
J.J.A.R., and PEDRO RAMOS PEREZ on               §
behalf of himself and his minor son F.R.I.,      §
       Plaintiffs,                               §
                                                 §
v.                                               §         EP-23-CV-00247-KC
                                                 §
UNITED STATES OF AMERICA,                        §
     Defendant.                                  §

                                           ORDER

       On this date, came on to be considered Defendant’s Unopposed Motion for Extension of

Time within which to answer, plead or otherwise respond in the above-entitled and numbered

cause. The Court, having considered Defendant’s motion, is of the opinion that said motion should

be and is hereby GRANTED.

       THEREFORE, IT IS ORDERED, that Defendant will answer, plead, or otherwise respond

to Plaintiffs’ Original Complaint on or before                                           .

       SIGNED on this         day of                                      , 2023.



                                                 KATHLEEN CARDONE
                                                 UNITED STATES DISTRICT JUDGE
